From:
Sent:      Thu, Case   2:19-cr-00877-CCC
                5 Apr 2018 11:35:12 -0600 Document 39-13 Filed 02/11/20 Page 1 of 1 PageID: 702
Subject:   Decisions
To:                                                                                   Matt Goettsche


Hi
It was really nice seeing you the other day even if only for a few minutes. Sorry your trip was so dusty and that there was
seaweed. It seems to be clearing out a bit now.

      and I just spoke and we have some uncertainties and so wanted to get them out there so that we are all on the same
page going forward. Forgive me if I ramble, trying to get my thoughts out before I forget which is happening more and
more.

       • What is to be done with the Jersey Trust/Company? Will it be dissolved and do we need to do anything on our end
       to help? This will affect things in Belize as paperwork has been submitted to companies registry regarding ownership
       etc. reflecting Tracy Island so we do need to know the plan if possible in order to prepare on this end. Our annual
       Hotel License and Tour Operator license as well as pretty much all official business asks for proof of ownership so it
       is important we figure out who is the true owner on paper once and for all.
       • If            'gifts' Hatchet Caye Limited and Argo Services Limited to Matt G, will funds still be sent to Belize via
       his company                             ? We ask because obviously the money has to match the ownership.
                    has finally been added to the banking system and we are good to go receiving wires. If we change the
       source of funds we will have to go through new due diligence - FYI.
       • Would it be possible to wait until we have all the directors filed, paperwork submitted to registry here in Belize, all
       new boats registered, licensed and insured (working on this now), new signees added to accounts, applied for Amex
       machine, cleared up all tax and covenant issues with WO etc. BEFORE we file the 'gift' in Belize? It has taken time
       and will take more time to get it all organized between the filings for               acquisition and
                                     acquisition and we worry that adding a change in ownership before the ink dries on the
       first batch of filings will push us into an abyss of wait time and delay not to mention loads more questions and
       possible tax audit. We really want to change local legal corporate representation also and were waiting for all of the
       above to be settled before we move things over to a better and more cost efficient office.
       • Do we need to do anything further regarding                          company and/or expense account set up?
       • Aside from getting you 2017 reports (we are almost there) is there anything you need from us?

 We also wanted to apologize on a united front if it came across that we were being negative regarding the work permit
 issue for        We are only wanting to give everyone the true picture so that there are no surprises later and so that we
 are sure to maintain positive relations with municipal and general government bodies etc. Belize is so very small and
 EVERYONE is talking and listening so the environment is a bit delicate. We stand ready, committed and willing to help in
 any way we can going forward.

Warm Regards,
